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1/5/2016 3:18:06 PM

Chris Daniel - District Clerk Harris County
Envelope No, 8464032

By: Ariana Garibay

Filed: 1/5/2016 3:18:06 PM

CAUSE NO.
LEONCIO GARCIA, § IN THE DISTRICT COURTS OF
Plaintiff, §
§
V. §
§ HARRIS COUNTY, TEXAS
WAL-MART. STORES, INC. and §
WAL-MART STORES TEXAS, L.L.C., §
Individually and D/B/A Wal-Mart §
Store # 0772, ; § ____ JUDICIAL DISTRICT
Defendants. §

PLAINTIFF’S ORIGINAL PETITION

TO THE HONORABLE JUDGE OF THIS COURT:
LEONCIO GARCIA (hereinafter called “Plaintiff’) comes forth to present this

complaint against WAL-MART STORES, INC. and WAL-MART STORES TEXAS,

 

L.L.C., individually and doing business as "Wal-Mart Store #0772" (hereinafter called
"Defendants"). For cause of action, Plaintiff would show the Court as follows:

DISCOVERY CONTROL PLAN

1, The parties should conduct pre-trial discovery in accordance with the discovery-

control plan described in Rule 190.4 of the Texas Rules of Civil Procedure (Level 3).

PLAINTIFF'S COMPETENCY TO SUE

2 Plaintiff is a natural person over the age of twenty-one who resides in Harris

County, Texas. He is in every respect competent to assist in the prosecution of this

lawsuit. - -

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COURT'S JURISDICTION OVER DEFENDANTS

 

 

Plaintiff's Original Petition - Page 1

 
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3. . WAL-MART STORES, INC. is a foreign for-profit corporation that was formed in
Delaware on or about October 29, 1974, It has been lawfully operating its retail business
in Texas ever since. |

4, WAL-MART STORES TEXAS, L.L.C. is a foreign limited liability company that
was formed in Delaware on or about June 26, 2007. It has been lawfully operating its
retail business in Texas ever since.

po SERVICE OF PROCESS

5. An authorized process server can perfect service-of-process on WAL-MART
STORES, INC. by hand-delivering a copy of this petition, and a citation to appear
herein, to WAL-MART STORES, INC'S registered agent for service in Texas, to wit: cr
Corporation System, at the agent's registered office address, 1999 Bryan Street, Suite

900, Dallas, Texas 75201-3136, or wherever the agent can be found.

6. An authorized process server can perfect service-of-process on WAL-MART

STORES TEXAS, L.L.C, by hand-delivering a copy of this petition, and a citation to

appear herein, to WAL-MART STORES TEXAS, L.L.C.'S registered agent for service in

Texas, to wit: CT Corporation System, at the agent's registered office address, 1999

Bryan Street, Suite 900, Dallas, Texas 75201-3136, or wherever the agent can be found.
SUBJECT-MATTER JURISDICTION

7. Plaintiff has brought this cause of action to recover bodily-injury damages he

suffered while shopping in one of Defendants’ retail stores. He is alleging that the

 

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accident and his injuries were proximately caused by the negligence of Defendants’
employees acting within the scope of their employment with Defendants, or by an
unattended premises defect that exposed Plaintiff to an unreasonable risk of suffering
serious harm. Plaintiff's accident-related damages far exceed the Court's minimal
jurisdictional limit.
VENUE

8. Venue is proper in Harris County because it is the county in which the accident
occurred, Tex, Civ. Prac. é& Rem. Code §15.002(a)(1).

CLAIM PURSUANT TO TRCP 47:
NOT AN EXPEDITED ACTION

9. - Plaintiff is seeking a recovery herein of more than $200,000.00 but less than
$1,000,000.00, including damages of any kind, penalties, costs, expenses, pre-judgment
interest, and attorney's fees. Therefore, this is not an “expedited action" as described in
Rule 169 of the Texas Rules of Civil Procedure.
| - THE INCIDENT

10. The accident happened at about 6:30 a.m., on June 9, 2015. Plaintiff arrived at
Wal-Mart Store # 0772 to pick up a cup of coffee. The store is located 3506 Highway 65.,
Houston, Texas 77082. Plaintiff was wearing flat rubber-soled shoes, and he was not
using a shopping cart as he only intended to grab a cup of coffee.

11. _ As Plaintiff entered into the store, Plaintiff stepped onto a puddle of clear liquid

(presumably water), slipped, and fell awkwardly to the floor. There was at least one

 

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employee standing nearby when the accident occurred, as there is generally a greeter at
the store’s entrances. Immediately after slipping, an employee came to Plaintiff's aid to
help him up.

AU F ACTIO AINST DEFENDANTS:
NEGLIGENT EXPOSURE TO UNSAFE CONDITION ON PREMISES

12. ° At the time of the incident, Plaintiff was on Defendants’ premises with
Defendants’ consent, and pursuant to Defendants' implied invitation. In other words,
Plaintiff was Defendants business invitee at the time of the accident. Defendants owed
a duty to Plaintiff to exercise ordinary care in preventing him from being exposed to
unreasonably dangerous conditions while he was on the premises. Defendants (through
their employees) owed a duty to Plaintiff to timely prevent or eliminate any unsafe
conditions caused by a premises defect.

13, Specifically, in this instance, Defendants had a duty to timely and adequately: (a)
inspect the floor in the area of the store where the accident occurred and thereby detect
that there was a puddle of liquid on the floor; and (b) after having actual or constructive
knowledge that the floor was wet and slippery, take measures to either (i) eliminate the
known hazard by promptly drying the floor; or (ii) warn customers to “stay clear" of
the puddle until a maintenance employee came to dry the floor.

14. Defendants' manager and/or employees had actual or constructive knowledge

that a puddle had formed because they were near the place of the incident at the

entrance of the store. The employee(s) failed to eliminate the condition or warn Plaintiff

 

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about the condition. Defendants’ failure to prevent or eliminate a known dangerously
defective ‘condition constituted negligence, as that term is defined in civil law.
Furthermore, Defendants’ negligence was the proximate cause of the injuries Plaintiff
suffered in the accident. Therefore, Defendants are liable to Plaintiff for the totality of
his bodily injury damages.
15. PLAINTIFF'S CLAIM FOR DAMAGES
17, As indicated above, Plaintiff suffered several injuries in the accident. These
injuries have caused him to suffer---and will very likely continue causing him to suffer—-
-the following damages:
a. Physical pain & suffering, in the past and future;
b. Mental anguish, in the past and future;
 g, Physical impairment, in the past and future;
d. Diminished capacity to enjoy life and society, in the past and future;
e. Medical expenses, in the past and future; and
f, Lost earnings, in the past.
DEMAND FOR JURY TRIAL
18. Plaintiff respectfully demands a trial-by-jury herein, and is paying the
- appropriate jury fee simultaneous to the filing of this original petition.

REQUEST FOR DISCLOSURES

19. Pursuant to Rule 194.3 of the Texas Rules of Civil Procedure, Plaintiff

 

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respectfully requests that, within fifty days of the date on which service-of-process on
Defendants is perfected, Defendants disclose the information and/or produce
documents outlined in Rule 194.2 (a)-(!) of the Texas Rules of Civil Procedure.

TICE OF D RODUC
PURSUANT TO TRCP 93.7

20. Pursuant to Texas Rule of Civil Procedure 193.7, Plaintiff intends to use any and
all documents Defendants produce. herein in response to any discovery requests
Plaintiffs serves upon Defendants herein, whether it is at any pre-trial proceeding or at
trial.
PRAYER

21. WHEREFORE, PREMISES CONSIDERED, Plaintiff respectfully requests that this
Court promptly set this matter for trial at the Court’s earliest convenience; and, after the
trial of this matter, grant the following relief to Plaintiff:

g. Judgment against each Defendant for compensatory damages;

h. Pre-judgment and post-judgment interest at the highest rate allowed by law;

i. Costs of court; and

j. Any further relief to which Plaintiff may be justly entitled.

[Signature on next page]

 

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Respectfully submitted,

THE LEON LAW Fira, P.C.,

One Sugar Creek Center Blvd., Suite 980
Sugar Land, Texas 77478

Tel.: (281) 980-4529

Fax; (281) 980-4530

By:__/s/ Piero Garcia
Carlos A. Leon --- SBN 00794157

cleon@theleonlawfirm.com
Piero A. Garcia --- SBN 24090112

pgarcia@theleonlawfirm.com
; ATTORNEYS FOR PLAINTIFF

 

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, . BY ere
. . RECEIPT NO, PROSASRIONAL CIMIGRROCESS
wheeseneee TR # 73204568

PLAINTIFF: GARCIA, LEONCIO In The 125th
vs, , Judicial District Court
DEFENDANT: WAL-MART STORES INC of Harris County, Texas

: 125TH DISTRICT COURT
Houston, TX
CITATION

THE STATE OF TEXAS
County of Harris

TO: WAL-MART STORES INC BY SERVING ITS REGISTERED AGENT CT CORPORATION
SYSTEM
OR WHEREVER THE AGENT CAN BE FOUND

1999 BRYAN STREET SUITE 900 DALLAS Tx 75201 - 3136

Attached is a.copy of PLAINTIFF'S ORIGINAL PETITION

This instrument was filed on the Sth day of January, 2016, in the above cited cause number
and court. The. instrument attached describes the claim against you. .

YOU HAVE BEEN SUED, You may employ an attorney. If you or your attorney do not file a
written answer with the District Clerk who issued this citation by 10:00 a.m on the Monday
next following the expiration of 20 days after you were served this citation and petition,
a default judgment ‘may be taken against you. .

“ TO OFFICER SERVING:

This citation was issued on 7th day of January, 2016, under my hand and

seal of said Court.

CHRIS DANIEL, District Clerk

Harris County, Texas

201 Caroline, Houston, Texas 77002
OS (2.0. Box 4651, Houston, Texas 77210)

Generated By: DENMON, BRIANNA JANEL 385//10277633

Issued_at xequest of:
GARCIA, PIERO ANTONIO :
ONE SUGAR CREEK CENTER BLVD
SUITE 980

SUGAR LAND, TX: 77476

Tel: (261) 990-4529

Bar No.: 24090112

    

OFFICER/AUTHORIZED PERSON RETURN
Came to hand at o'clock .M., on the day of. | oe .
Executed at (addresa) in

o'clock -M., on the day of

 

County at ’

1 by delivering to defendant, in person, a

copy(ies) of the Petition:

 

true copy of this Citation together with the accompanying

attached thereto and I endorsed on said copy of the ‘Citation the date of delivery.

 

 

 

 

 

To certify which I affix my hand officially this day of ' :
FEE: $
of County, Texas
By
Affiant Deputy
On this day, + known to me to be the person whose

 

signature appears on the foregoing return, personally appeared, After being by me duly sworn,
he/she stated that this citation was executed by him/her in the exact manner recited on the
return. :

SWORN TO,AND SUBSCRIBED BEFORE ME, on this day of ’ ’

 

Notary Public

NoINT, CITA. P . *73204588*

 

 
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@. CT Corporation

Service of Process
Transmittal
01/27/2016

CT Log Number 528537327

TO: Kim Lundy Service of Process, Legal Support Supervisor

Wal-Mart Stores, Inc.
702:SW 8th St. MS 215

Bentonville, AR 72716-6209

RE: Process Served In Texas

FOR:

Wal-Mart Stores, Inc. (Domestic State: DE)

ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE GF ACTION:

DOCUMENT(3) SERVED:

COURTIAGENCY!
NATURE OF ACTION:

ON WHOM PROCESS WAS SERVED:
DATE AND HOUR OF SERVICE:
JURISDICTION SERVED :
APPEARANCE OR ANSWER DUE:

ATTORNEY(3)} / SENDER(S}:

‘

ACTION ITEMS:

SIGNED:
ADDRESS:

TELEPHONE:

Garcia | Leoncio, Pltf. vs. Wal-Mart Stores, Inc. and Wal-Mart Stores Texas, L.L.C.,
etc., .

Citation, Original Petition
125th Judicfal District Court Harris County, TX

Case # 201600418
Persenal Injury - St P/ Trip and Fall - June 9, 2015 - Wal-Mart Store # 0772 located at
3506 Highway'6 S., Houston, Texas 77082

CT Corporation System, Dallas, TX
By Process Server on 01/27/2016 at 10:40
Texas

By 10:00 a.m, on the Monday next following the expiration of 20 days after you
were served (Document(s) may contain additional answer dates)

Piero Garcia

THE LEON LAW FIRM, PC.
One Sugar Creek Center Blvd.
Suite 980

Sugar Land, TX 77478

(281) 980-4529

CT has retained the current log, Retain Date: 01/27/2016 ected Purge Date:
02/01/2016 8s Pp %

Image SOP
Email Notification, Kim Lundy Service of Process ctlawsuits@walmartlegal.com

C T Corperation System
1959 Bryan St Ste $00
Dallas, TX 75201-3140
214-932-3601

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{Information displayed on this transmittal {s for CT
Corporation's record keeping purposes only and is provided to
the recipient for quick reference. This information does not
constitute @ legal opinion as to the nature of action, the
amount of damages, the answer date, or any information
contained in the documents themselves, Recipient is
responsible for interpreting sald documents arid for taking
appropriate action. Signatures cn certified mail recetpts
confirm receipt of package only, not contents,

 
